Case 2:05-cV-02122-.]P|\/|-de Document 18 Filed 08/15/05 Page 1 of 2 Page|D 27

 

IN THE UNITED sTATEs DISTRICT CoURT '”`"-ED B`f‘ A/.Qo.c.
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 AUG l5 PH 3= 22
fHI)MW M. "
VICKI PARSON, am U-S’ "’-`f‘~`?'l-’”?l’-?TOOUHI
W/U OF .=,»'§.=._.€PH;S
Plaintiff,
v. ease No. 05~2122-MIV

DAIMLERCHRYSLER CORPORATION,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR AN EXTENSION
OF TIME TO RESPOND TO PLAINTIFF’S MOTION FOR LEAVE TO
AMEND COMPLAINT

 

Appearing to this Court that Defendant’s Motion for an Extension of Time is unopposed
and Well taken, the Court exercising its discretion finds that good cause is shown to allow
Defendant an extension of time, up to and including August 29, 2005, in Which to tile it’s
opposition to Plaintiff’s Motion for Leave to Amend Cornplaint.

IT IS, THEREFORE, ORDERED that Defendant be granted up until August 29, 2005, in
Which to file its opposition to Plaintiff’s Motion for Leave to Amend Complaint.

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United States-Disa=iet-Judge
/M 4 02

Dated: M /(. %//;A Mr

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02122 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

ESSEE

 

Gary M. Smith

LEWIS RICE & FINGERSH
500 North Broadway

Ste. 2000

St. Louis7 MO 63102

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. ll70

l\/lemphis7 TN 38103

David W Gearheart

LEWIS RICE & FINGERSH L.C.

500 N. Broadway
Ste 2000
St. Louis7 MO 63102

Honorable J on McCalla
US DISTRICT COURT

